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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG :
“DEEPWATER HORIZON” in the — : SECTION: J
GULF OF MEXICO, on :
APRIL 20, 2010

JUDGE BARBIER
THIS DOCUMENT RELATES TO: MAG. JUDGE SHUSHAN
1. Bill’s Oyster House vy BP et al (C.A. 10-1308)
2. Howard Buras v BP et al (C.A.10-2994)
3. Armand's Bistro v BP et al (C.A. 10-4489)
. Faye Loupe et al. v BP et al (C.A. 10-2764)
. Laura Gautreaux v BP et al (CA. 10-1539)
6. Brent Rodrigue, Sr. ef al. v BP et al (C.A. 10-1325)

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NOTICE OF MOTION

Subject to Pre-Trial Order No. 15, hearing on Plaintiffs’ Motion For Summary
Judgment Against Halliburton Energy Services., Inc., may be set by this Court, and is tentatively

noticed to be heard on the 27th day of April 2011, at 9:30 a.m.

/s/__ Daniel &. Becnel, Jr.
DANIEL E. BECNEL, JR. G#2926)
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DARRYL J. BECNEL (#22943)
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CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that the above and foregoing Notice of Motion will be served
on All Counsel by electronically uploading the same to Lexis Nexis File & Serve in
accordance with Pretrial Order No. 12, and that the foregoing will be electronically filed
with the Clerk of Court of the United States District Court for the Eastern District of
Louisiana by using the CM/ ECF System, which will send a notice of electronic filing in
accordance with the procedures established in MDL 2179, on this 12th day of

April
2011.

/s/ Daniel E. Becnel, Jr.

